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AO 245B (Rev 02/18) Judgment in a Criminal Case
Sheet 1

UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF FLORIDA

TAMPA DIVISION
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
CASE NUMBER:  8:14-cr-512-T-24JSS
v. USM NUMBER:  60735-018
DAVID BROCK LOVELACE (Pro se) Defendant's Attorney: Darlene Barror, CJA as standby counsel
THE DEFENDANT:

_X_ was found guilty on counts One and Two of the Indictment after a plea of not guilty.

 

TITLE & SECTION NATURE OF OFFENSE OFFENSEENDED COUNT
18 U.S.C. § 371 Conspiracy to pay healthcare kickbacks November 2014 One

31 U.S.C. § 5324(a)(3) Structuring to avoid reporting requirements July 18, 2014 Two
and (d)

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by
this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States
Attorney of any material change in economic circumstances.

Date of Imposition of Sentence: October 4, 2019

Au C_ Bubs/

SUSAN C. BUCKLEW
UNITED STATES DISTRICT JUDGE
DATE: October 4, 2019
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AO 245B (Rev 02/18) Judgment in a Criminal Case
Sheet 2 - Imprisonment

 

Defendant: DAVID BROCK LOVELACE Judgment - Page 2 of 6
Case No.: 8:14-cr-512-T-24JSS .

IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of: SEVENTY (70) MONTHS this consist of SIXTY (60) MONTHS as to Count One

and TEN (10) MONTHS as to Count Two, all such terms to run consecutively and to run consecutive to sentencing
imposed in docket number 8:14-cr-164-T-23AAS.

_X_ The court makes the following recommendations to the Bureau of Prisons: Confinement at FCI Forrest City,
Arkansas.

_X_ The defendant is remanded to the custody of the United States Marshal.

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on _ to
at , with a certified copy of this judgment.
UNITED STATES MARSHAL
By:

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev 02/18) Judgment in a Criminal Case
Sheet 3 - Supervised Release

 

Defendant. DAVID BROCK LOVELACE Jud : 3 of 6
Refendant: DAVID BROCK RQVELAC udgment - Page _3_ of _6_
SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of THREE (3) YEARS as
to Counts One and Two, all such terms to run concurrently.

MANDATORY CONDITIONS

1. You must not commit another federal, state or local crime.

2. You must not unlawfully possess a controlled substance. ;

3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within ©
15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
court.

Xx The above drug testing condition is suspended, based on the court's determination that you pose a
low risk of future substance abuse. . .
4. You must cooperate in the collection of DNA as directed by the probation officer.

You must comply with the standard conditions that have been adopted by this court as well as with any
additional conditions on the attached page. ;
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AO 245B (Rev 02/18) Judgment in a Criminal Case
Sheet 3A - Supervised Release

Defendant! DAVID BROCK LOVELACE Judgment - Page 4_ of _6_
Case No.: 8:14-cr-512-T-24JSS

 

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These
conditions are imposed because they establish the basic expectations for your behavior while on supervision and
identify the minimum tools needed by probation officers to keep informed, report to the court about, and bring
about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72
hours of your release from imprisonment, unless the probation officer instructs you to report to a different
probation office or within a different time frame.

2. After initially reporting to the probation office, you will receive instructions from the court or the ‘probation officer
about how and when you must report to the probation officer, and you must report to the probation officer as
instructed. .

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting

permission from the court er the probation officer.
ou must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about
your living arrangements (such as the people you live with), you must notify the probation officer at least 1 days
efore the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances,
you must notify the probation officer within 72 hours of becoming aware of a change or expected|change.
ou must allow the probation officer to visit you at any time at your home or elsewhere, and you |must permit the
probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
view. .
7. You must work full time (at least 30 hours per week) at a lewful type of employment, unless the probation officer
excuses you from doing so. If you do not have full-time employment you must try to find full-time em loyment,
unless the probation officer excuses you from doing so. If you plan to change where you work or anything about
our work (such as your position or your job responsibilities , you must notify the probation officer at least 10 days
efore the change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or. expected
change. .
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know
someone has been convicted of a felony, you must not knowingly communicate or interact with that person without
first getting the permissicn of the probation officer. .
9. if you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72
_ hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
erson such as nunchakus or tasers).
Il. ou must not act or make any agreement with a law enforcement agency to act as a confidential human source or
informant without first getting the permission of the court. 0 .
12. _-If-the probation officer determines that you pose a risk to another person (including an organization), the probation
efficer may require you to notify the person about the risk and you must comoly with that instruction. The
probation officer may conta“t the person and confirm that you have notified the person about the sisk.

13. ou must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

AUS. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment’ containing these conditions. I understand additional information regarding these conditions is available at the
www.uscourts.gov.

 

Defendant's Signature , Date
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AO 245B (Rev 02/ 18) Judgment in a Criminal Case
Sheet 3D - Supervised Release

 

Defendant: DAVID BROCK LOVELACE 7 Judgment - Page _5_ of __6_
Case No.: 8:14-cr-512-T-24JSS

SPECIAL.CONDITIONS OF SUPERVISION

The defendant shall also comply with the following additional conditions of supervised release:

_X. You must provide the probation officer access to any requested financial information.
X. —_-Youare prohibited from incurring new credit charges, opening additional lines of credit, acquisitions or
. obligating himself for any major purchases without approval of the probation officer.
X.—s- You must submit to a search of his person, residence, place of business, storage units under your control,

computer, or vehicle, conducted by the United States Probation Officer at a reasonable time and in a
reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a
condition of release. You shall inform any other residents that the premises may be subject to a search
pursuant to this condition. Failure to submit to a search may be grounds for revocation.
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AO 245B (Rev 02/18) {udement | ina Criminal Case
Sheet 5/6 - Criminal Monetary Penalties & Schedule of Payments

 

Defendant: | DAVID BROCK LOVELACE Judgment - Page 6 of _6
Case No.: 8:14-cr-512-T-24JSS udgment - Page _O_ of _9_

CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments.

Assessment JVTA Assessment * Fine Total Restitution
Totals: $200.00; N/A Waived Deferred
SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as
follows:

 

_X___ Lump sum payment of $ 200.00 due immediately.

Unless t the court has expressly ordered otherwise, if this judgment imposes a period of imprisonment, payment of
criminal monetary penalties is due during im risonment. All criminal monetary penalties, except those payments
made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the clerk of
the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties
impose

X.___ The defendant shall forfeit the defendant's interest in the following property to the United States:
[SEE ATTACHED ORDER OF FORFEITURE DKT #212]
Payments shall ra plied in the following order: (1) assessment, > (2) restitution princi ipal, (3) restitution interest,

(4) fine principal fine interest, (6) community Co auton (7) A assessment, ( g) penalties, and (9) costs,
including cost st prosecution and ‘court costs.
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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
UNITED STATES OF AMERICA
v. Case No. 8:14-cr-512-T-17TGW
DAVID BROCK LOVELACE
ORDER OF FORFEITURE
David Brock Lovelace was found guilty of the offense charged in count
one of the indictment, a violation of 18 U.S.C. § 371, and the offense charged
in count two of the indictment, a violation of 31 U.S.C. § 5324(a)(3). The
United States of America has established that Lovelace obtained
& 614 $80 in proceeds as a result of the offense charged in count one.
The United States moves (Doc. 211), under 18 U.S.C. § 982(a)(1) and
Rule 32.2(b)(2) of the Federal Rules of Criminal Procedure, for the entry of an
order of forfeiture in the amount of $1,566,113.82. The motion is
GRANTED, and Lovelace is liable for an order of forfeiture in the amount of
d 612 350 which is final as to Lovelace.
The proceeds of the offense were transferred to third parties, and the

United States cannot locate the proceeds upon the exercise of due diligence.

Accordingly, under 21 U.S.C. § 853(p), the United States may seek, as a
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substitute asset in satisfaction of this judgment, forfeiture of any of Lovelace’s

property not exceeding the value of th b I 2 4x0 order of forfeiture.
The court retains jurisdiction to entertain any third-party claim that

may be asserted and to enter any order necessary to the forfeiture and

disposition of any substitute asset.

ORDERED in Tampa, Florida, on Oct. 4 , 2019.

Fu CRRQY

SUSAN C. BUCKLEW
UNITED STATES DISTRICT JUDGE

Copies to:
JAMES A. MUENCH, AUSA
Counsel of Record
